      Case
      Case 2:13-ap-01854-BR
           2:17-cv-04157-RGK Doc
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                               Main Document     Page 1 of 3
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                           March 13, 2018


       Nos.:                     18-55293, 18-55324 Cross Appeals
       D.C. Nos.:                2:17-cv-04157-RGK, 2:17-cv-04252-RGK
                                 In re: Woman's Club of Hollywood, Cal, et al v. Heide
       Short Title:
                                 Kurtz


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
Case
Case 2:13-ap-01854-BR
     2:17-cv-04157-RGK Doc
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                         Main Document     Page 2 of 3



                  UNITED STATES COURT OF APPEALS
                                                                FILED
                          FOR THE NINTH CIRCUIT
                                                               MAR 13 2018
                                                               MOLLY C. DWYER, CLERK
                                                                U.S. COURT OF APPEALS




 In the Matter of: WOMAN'S CLUB OF         No. 18-55293
 HOLLYWOOD, CALIFORNIA,
                                           D.C. No. 2:17-cv-04157-RGK
             Debtor,
                                           U.S. District Court for Central
                                           California, Los Angeles
  HEIDE KURTZ,
                                           TIME SCHEDULE ORDER
             Appellant,

   v.

 JENNIFER MORGAN,

             Appellee.




 In the Matter of: WOMAN'S CLUB OF         No. 18-55324
 HOLLYWOOD, CALIFORNIA,
                                           D.C. Nos.
             Debtor,
                                           2:17-cv-04157-RGK,
                                           2:17-cv-04252-RGK
  JENNIFER MORGAN,                         U.S. District Court for Central
                                           California, Los Angeles
             Appellant,

   v.

 HEIDE KURTZ, Chapter 11 Trustee,
Case
Case 2:13-ap-01854-BR
     2:17-cv-04157-RGK Doc
                        Document
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                                 44 03/13/18
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                                                                 Page ID #:6358
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                         Main Document     Page 3 of 3



              Appellee.



This order vacates all brief due dates set by previously issued time schedule orders.
The parties shall meet the following cross appeal time schedule.

Tue., March 20, 2018          Mediation Questionnaire due. If your registration for
                              Appellate ECF is confirmed after this date, the
                              Mediation Questionnaire is due within one day of
                              receiving the email from PACER confirming your
                              registration.
Fri., May 4, 2018             The party(s) who filed the first appeal shall file and
                              serve the first brief on cross-appeal pursuant to
                              FRAP 28.1.
Mon., June 4, 2018            The party(s) who filed the second appeal shall file
                              and serve the second brief on cross-appeal pursuant
                              to FRAP 28.1.
Thu., July 5, 2018            The third brief on cross-appeal shall be filed and
                              served pursuant to FRAP 28.1.

The optional cross appeal reply brief shall be filed and served within 21 days
of service of the third brief on cross appeal, pursuant to FRAP 28.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: John Brendan Sigel
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
